           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:10cr66-1


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )               MEMORANDUM OF
                          )               DECISION AND ORDER
                          )
RAYMOND DANGELO ALLEN. )
                          )

       THIS MATTER is before the Court on the Defendant’s Motion for

Judgment of Acquittal Notwithstanding the Verdict [Doc. 240].

I.     PROCEDURAL BACKGROUND

       On October 5, 2010, the grand jury returned a bill of indictment

charging that from in or around January of 2010 and continuing until on or

about June 10, 2010, in Buncombe and McDowell Counties, the Defendant

Raymond Dangelo Allen (“Allen”), Reggie Lamont Battle (“Battle”), Shawn

Terrill Boyce (“Boyce”), Mario Lamont Carson (“Carson”), Jonathan Keith

Daniels (“Daniels”), Derrick Edward Forney (“Forney”), Brandon Dion

Ledbetter (“Ledbetter”), Carlos Keno Twitty (“Twitty”), Brandon Michael

Walker (“Walker”), Nicholas Raymond Wilkerson (“Nicholas Wilkerson”),

and N’namdi Eva Young (“Young”), knowingly and intentionally conspired




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with each other and with Willie Jermille Chappell (“Chappell”), Chrisshawn

DeLee Folston (“Folston”), Markeenus Cleavon Wilkerson (“Markeenus

Wilkerson”), Joshua Aurrick Toms (“Toms”), and Kingsley Eke Agbaeze

(“Agbaeze”)1 to possess with intent to distribute at least fifty grams of a

mixture or substance containing a detectable amount of cocaine base,

commonly referred to as crack cocaine, in violation of 21 U.S.C. §§

841(a)(1) and 846. [Doc. 1]. Allen proceeded to trial on June 27, 2011.

The Government presented twenty-seven witnesses in its case-in-chief,

including three lab technicians, thirteen law enforcement officers, three

confidential informants, and eight co-conspirators. At the close of the trial,

the jury returned a verdict of guilty as charged.

        Allen now moves pursuant to Federal Rule of Criminal Procedure 29

for a judgment of acquittal notwithstanding the verdict, arguing that there is

insufficient evidence to show his knowing participation in the charged

conspiracy. [Doc. 240]. The Government opposes Allen’s motion. [Doc.

254].

        Having been fully briefed, this motion is now ripe for disposition.



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       Chappell, Folston, Markeenus Wilkerson, Toms, and Agbaeze were indicted in a
separate criminal case. See Criminal Case No. 1:10cr32 (W.D.N.C.). All of Allen’s co-
conspirators pled guilty prior to his trial.

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II.     FACTUAL BACKGROUND

        The evidence at trial established four inter-related tiers of an

organization responsible for trafficking large quantities of crack cocaine in

Buncombe and McDowell Counties. The first tier of dealers, which

included Boyce, Carson, Forney, Ledbetter, Twitty, Walker, Nicholas

Wilkerson and Young, sold $5 and $20 rocks of crack cocaine on the

streets of the Hill Community in Marion, North Carolina. The second tier,

which included Toms, Markeenus Wilkerson and Agbaeze, sold 1/8 ounce

and 1/4 ounce quantities of crack cocaine to the dealers in the Hill

Community. The third tier consisted of Folston, who sold one to four ounce

quantities of crack cocaine to the larger dealers in the Marion area. The

fourth and top tier of the organization included Chappell, who acted as

Folston’s primary source of supply for four to eight ounce quantities of

crack cocaine. He was assisted by Daniels and also sold crack cocaine to

Battle.

        At trial, Folston testified that he purchased 1.5 ounces of crack

cocaine from Allen on May 17, 2010 when he could not obtain the crack

cocaine he needed from Chappell. Folston further testified that he

purchased an additional two ounces of crack cocaine from Allen on May



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18, 2010 when he again could not obtain the crack cocaine he needed from

Chappell. Folston’s testimony regarding these buys was corroborated by

Robin Lynette Anderson, a confidential informant who accompanied

Folston on each trip to purchase crack cocaine from Allen in Asheville. The

Government presented information from a GPS tracking device used on

the vehicle driven by Folston and Anderson on each of these trips in order

to corroborate Folston’s and Anderson’s testimony. Additionally, members

of law enforcement, including DEA Special Agent Dan Guzzo and Task

Force Officer Tracy Crowe, testified regarding the physical surveillance that

was conducted in anticipation of Folston’s buys from Allen.

III.     STANDARD OF REVIEW

         When a defendant challenges a jury’s verdict on the basis of

insufficient evidence, “the verdict will be sustained if, when the evidence is

viewed in the light most favorable to the government, there is substantial

evidence to support it.” United States v. Sullivan, 455 F.3d 248, 260 (4th

Cir. 2006). “Substantial evidence is evidence that a reasonable finder of

fact could accept as adequate and sufficient to support a conclusion of a

defendant’s guilt beyond a reasonable doubt.” United States v. Young, 609

F.3d 348, 355 (4th Cir. 2010) (quoting United States v. Burgos, 94 F.3d



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849, 862 (4th Cir. 1996) (en banc)). In determining the issue of substantial

evidence, the Court does “not reweigh the evidence or the credibility of the

witnesses, but assume[s] that the jury resolved all contradictions in the

testimony in favor of the Government.” United States v. Roe, 606 F.3d

180, 186 (4th Cir.), cert. denied, 131 S.Ct. 617, 178 L.Ed.2d 448 (2010).

IV.     ANALYSIS

        In order to convict a defendant for the crime of conspiracy to

distribute narcotics, the Government must show beyond a reasonable

doubt: “(1) an agreement between two or more persons to engage in

conduct that violates a federal drug law . . .; (2) the defendant’s knowledge

of the conspiracy; and (3) the defendant’s knowing and voluntary

participation in the conspiracy.” United States v. Hickman, 626 F.3d 756,

763 (4th Cir. 2010) (internal quotation marks and citation omitted). Once

the Government proves the existence of a conspiracy, “the evidence ‘need

only establish a slight connection between the defendant and the

conspiracy to support conviction.’” United States v. Kellam, 568 F.3d 125,

139 (4th Cir.), cert. denied, 130 S.Ct. 657, 175 L.Ed.2d 501 (2009) (quoting

United States v. Brooks, 957 F.2d 1138, 1147 (4th Cir. 1992)).




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      In the present case, Allen argues that, at best, the Government only

proved that he sold 3.5 ounces of crack cocaine over a two-day period to

Folston. Allen argues that the Government failed to present any evidence,

much less substantial evidence, that he had any knowledge of the charged

conspiracy or of Folston’s intent to distribute the crack cocaine. [Doc. 240

at 7-8].

      By his motion, Allen essentially asserts that the Government was

required to produce direct evidence of his knowledge of both the

conspiracy and Folston’s intent to distribute the crack cocaine in order to

convict him of the conspiracy charge. It is well-established, however, that

proof of a “tacit or mutual understanding” is sufficient to establish a

conspiratorial agreement, and such proof may be inferred from

circumstantial evidence. United States v. Ellis, 121 F.3d 908, 922 (4th Cir.

1997). In determining whether a defendant possessed the requisite

knowledge and intent, a jury is entitled to consider several factors,

including the defendant’s “relationship with other members of the

conspiracy, the length of his association, his attitude, conduct, and the

nature of the conspiracy.” United States v. Collazo, 732 F.2d 1200, 1205

(4th Cir. 1984).



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      Here, the Government presented substantial evidence to establish

the Defendant’s knowledge of and participation in the charged conspiracy.

The evidence at trial established that Folston regularly purchased crack

cocaine for redistribution from Chappell, and that Folston sought to

purchase crack cocaine from Allen when he could not obtain the crack

cocaine he needed from Chappell. The evidence established that Folston

called Allen after the first sale to complain that Allen had shorted him a half

ounce. Allen responded that Folston should call him the next time he

needed a supply of crack cocaine and he would “straighten it out,” thereby

creating the reasonable inference that Allen would again supply him with a

quantity of crack cocaine for distribution.

      The evidence further established that Folston purchased a total of 3.5

ounces of crack cocaine from Allen, a quantity which would have produced

over one thousand rocks of crack cocaine for redistribution. The sheer

quantity of crack cocaine involved in these transactions is ample support

for the jury’s conclusion that Allen had knowledge of Folston’s intent to

redistribute these drugs. See Kellam, 568 F.3d at 141 (finding quantity of

drugs relevant to establishing intent to distribute); United States v. Lamarr,




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75 F.3d 964, 973 (4th Cir. 1996) (finding 5.72 grams of crack consistent

with intent to distribute).

       In sum, the Court concludes that the Government presented

substantial evidence at trial to establish that Allen understood the unlawful

nature of the conspiracy and that he knowingly and intentionally joined in

that conspiracy on two occasions. If a defendant “joins the conspiracy with

an understanding of the unlawful nature thereof and willfully joins in the

plan on one occasion, it is sufficient to convict him of conspiracy, even

though he had not participated before and even though he played only a

minor part.” United States v. Roberts, 881 F.2d 95, 101 (4th Cir. 1989).

For these reasons, the Defendant’s motion for a judgment of acquittal

notwithstanding the verdict must be denied.

V.     ORDER

       IT IS, THEREFORE, ORDERED that the Defendant’s Motion for

Judgment of Acquittal Notwithstanding the Verdict [Doc. 240] is DENIED.

       IT IS SO ORDERED.
                                       Signed: August 3, 2011




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